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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

JAMIE CLAIRE, et al.,

      Plaintiffs,

v.                                           Case No.: 4:20cv20-MW/MAF

FLORIDA DEPARTMENT OF
MANAGEMENT SERVICES, et al.,

     Defendants.
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                    ORDER FOR SUPPLEMENTAL BRIEFING

      Several pending motions are before this Court, including cross-motions for

summary judgment. See ECF Nos. 123, 125, & 126. Plaintiffs have brought claims

under Title VII and the Equal Protection Clause of the Fourteenth Amendment,

alleging that Defendants have unlawfully discriminated against them on the basis of

sex by denying them coverage for gender-affirming medical care. The Plaintiffs’

arguments with respect to the Equal Protection claim rely in part on the now-vacated

opinion in Adams v. Sch. Bd. of St. Johns Cnty, 968 F.3d 1286 (11th Cir. 2020). The

substituted opinion in Adams was subsequently vacated upon the granting of

rehearing en banc in that case. See ECF No. 152 (Plaintiffs’ second notice of

supplemental authority). Now, the Eleventh Circuit has issued its en banc opinion in
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Adams, holding that “separating school bathrooms based on biological sex passes

constitutional muster . . . .” Adams v. Sch. Bd. of St. Johns Cnty, --- F.4th ---, 2022

WL 18003879, *1 (11th Cir. Dec. 30, 2022) (en banc). Accordingly, given the

parties’ reliance on the original Adams opinion in their papers, the parties must file

supplemental briefs addressing how the en banc decision in Adams affects the merits

of Plaintiffs’ claims and whether they wish to file amended summary-judgment

papers given this development. The parties’ supplemental briefs are due on or

before Tuesday, January 17, 2023.

      SO ORDERED on January 3, 2023.
                                        s/Mark E. Walker
                                        Chief United States District Judge




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